Case 9:18-cv-80176-BB Document 815 Entered on FLSD Docket 12/07/2021 Page 1 of 13

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

CASE NO.: 9:18-cv-80176 (BB/BR)

IRA KLEIMAN, as personal representative of the estate of David Kleiman, and W&K INFO
DEFENSE RESEARCH, LLC,

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Plaintiffs,
vs.
CRAIG WRIGHT,
Defendant.
ADMITTED EXHIBITS
Exhibit Number Description

JE001 W&K Info Defense Research LLC Articles of Organization filed on 2/16/2011
JE003 Email from A. Pedersen to J. Warren re BitMessage: Security Software Code review,

IP Deed of Assignment between The Wright Family Trust Demorgan and Coin- Exch
JE009 Pty Ltd

Email from A. Andresen to J. Garzik, G. Maxwell, W. van der Laan, and P, Wuille re

The satoshin@gmx.com account compromise, dated September 9, 2014 (Exhibit 70
JE010 in G. Andresen's 2/26/2020 deposition)

Document from G. Andresen titled "Not as rich as you think", dated February 14,
JEO11 2018 (Exhibit 71 in G. Andresen's 2/26/2020 deposition)

Email chain with attachment between D. Kleiman, C. Wright and L. Wright re:
JE012 Registration - TTA]
JE013 Email chain between C. Wright, L. Wright and D. Kleiman re: Link to R&D site
JE014 Craig Declaration, dated May 8, 2019

2018 Limited Liability Company Reinstatement for W&K Info Defense Research
JE021 LLC
JE022 D. Kleiman Last Will
JE024 Exhibit D02 in J. Warren's 7/24/2019 deposition
JE031 Email chain between C. Wright and I. Kleiman re: domains

Email chain with attachment between D. Kleiman, C. Wright and L. Wright re: Four
JE032 proposals
JE034 Email chain between C. Wright, D. Kleiman and L. Wright re: Four proposals
JE035 Email chain between C. Wright, D. Kleiman and L. Wright re: Four proposals
JE045 Email chain between P. Paige and K. Andreou re: Bitcoin?
JE048 Email chain with attachment between I. Kleiman and C. Wright re: Letter
JE049 Email chain with attachment between I. Kleiman and A. Damoka re: Letter
JE052 Email chain between D. Kleiman and C. Wright re: How are you
JE053 Email chain between D. Kleiman and C. Wright re: Next week
JE054 Email chain between D. Kleiman and C. Wright re: Welcome

 

 

 
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JE055 Email chain between C. Wright and D. Kleiman re: Runners up
JE057 Email to D. Kleiman from C. Wright re: Next time
Email chain between D. Kleiman and C. Wright re: Authorship offer (ISC) 2 Press
JE058 Series - ISSMP
Email chain between C. Wright and D. Kleiman re: Defamation and the difficulties
JE060 of law on the Internet.aig
Email to M. Pollitt, C. Whitcomb, S. Guttman and C. Wright from D. Kleiman re:
JE061 Recommendations for DFCB board / committee member
JE062 Email to C. Wright from D. Kleiman re: morning
Email chain between C. Wright, D. Kleiman and L. Wright re: Reminder: Your
JE096 Webinar is on Friday, September 9, 2011 7:00 PM - 8:00 PM AEST
JE097 Email to D. Kleiman from C. Wright re: Runners up
JE098 Email chain between C. Wright, D. Kleiman and L. Wright re: Your offer
JE099 Email to self from I. Kleiman re: Fwd: Dave
JE101 C. Wright 2009 Australian Tax return
JE103 Email chain between C. Wright and I. Kleiman re: Dave
Email from C. Wright to J. Wilson and R. Watts re Some history, dated June 26,
JE114 2013
C. Wright Post "Andrew Carnegie said 'earn as much as possible, give as much as
JE120 possible."' (Craig Dep. ITV Ex. Tag 3)
Email from C. Wright to D. Kleiman, P. Henry, B. Long, C. Conrad, cc: R. Lee re:
JE124 Forensic Common Body of Knowledge, dated November 16, 2008.
Email from C. Wright to D. Kleiman re Defamation and the difficulties of law on the
P002 Internet, dated March 12, 2008
P033 Email from S. Nakamoto to G. Andresen re alert message key, dated April 26, 2011
P034 Panopticrypt Pty Ltd Certificate of Registration, dated June 20, 2011
Email from D. Kleiman to C. Wright re Requested attached, dated June 24, 2011
P035 Tulip Trust
P036 Deed of Trust for Tulip Trust
Email from D. Kleiman to C. Wright re Requested attached, dated June 24, 2011.
P037 Tulip Trust
Email from C. Wright to S. Matthews and R. Watts re This week, dated October 27,
P042 2015
P043 Email from R. Watts to C. Wright re Trusts, dated May 28, 2012
P045 Email from C. Wright to D. Kleiman re IFIP-WG11.9 CFP, dated October 10, 2012
Deed of Loan between Design by Human Ltd., C. Wright and Denariuz Seychelles
P048 Trust, dated October 23, 2012
P051 Warren Dep. Ex. P11
P052 Warren Dep. Ex. P4
P0S3 Warren Dep. Ex. P3
P055 Email from D. Kleiman to C. Wright re Brits, dated December 15, 2012
P055.1 lst Edman Report Ex. 31-DEF_00022263.PDF.obj_6_0.pdf

 

 

 

 

 
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lst Edman Report Ex. 33-
P055.3 DEF _00022263.PDF-GPG Output.pdf

P057 Warren Dep. Ex. P5

Email from C. Wright to J. Chesher and R. Watts, Fwd of Email with D. Kleiman re
P059 "Divorce", Dated January 23, 2013

Deed of Asssignment between Craig Wright R&D and Strasan Pty Ltd, dated June
P074 30, 2013

Email from C. Wright to J. Wilson and R. Watts re Initial Accounts, dated July 2,
P075 2013
P076 Email from C. Wright to R. Watts re Next, dated July 2, 2013
P078 Email from C. Wright to Fhalyce Dempster re Evidence, dated July 18, 2013

Email from C. Wright to R. Manu and J. Wilson re Advice, dated September 23,
PO091 2013

Email from S. Lipke to C. Wright, R. Urquhart, J. Wilson, R. Watts and A. Pedersen
P092 re ATO Ruling, dated September 27, 2013
P094 Email from C. Wright to J. Spears re Discussion, dated October 2, 2013

Email from C. Wright to M. Italia re Email 7 re Notification of audit ABN 48 164
P096 068 348, dated October 6, 2013
P097 Email from C. Wright to M. Hardy re Discussion, dated October 9, 2013

Email from C. Wright to M. Italia re Notification of audit ABN 48 164 068 348,
P101 dated October 12, 2013
P102 Resignation Letter from J. Wilson to C. Wright, dated October 23, 2013

Transcript of Craig Wright before Registrar Bradford, dated October 30, 2013 (Craig
P105 Dep. IV Ex. Z16)
P112 Email from C. Wright to B. Wright re Intro, dated January 29, 2014
P113 Email from C. Wright to S. Matthew re what we are doing.
P1117 Email from L. Kleiman to C. Wright re Dave, dated February 12, 2014
P119 Email from C. Wright to I. Kleiman re Dave, dated February 15, 2014
P120 Email from C. Wright to I. Kleiman re Dave, dated February 15, 2014
P122 Email from C. Wright to P. Paige re Difficult, dated February 17, 2014

Email from I. Kleiman to C. Wright re AGMO COE in IPv6.pptx, dated February 18,
P124 2014

Record of Interview of J. Chesher by ATO Auditor A. Miller, dated February 26,
P127 2014
P129 Email from C. Wright to I. Kleiman re Bond villains, dated March 2, 2014
P133 Email from C. Wright to I. Kleiman re This week, dated March 7, 2014
P134 Email from C. Wright to I. Kleiman re RDPlan - Integyrs.doc, dated March 7, 2014
P135 Email from C. Wright to J. Chesher re Bond villians, dated March 10, 2014

P135.1 lst Edman Report Ex. 28-DEF_00028008.mht.txt-GPGOutput.pdf

Questions from the ATO about W&K Letter from J. O 'Halloran to C. Wright and J.
P137 Chesher re Questions relating to our audit, dated March 11, 2014

Email from C. Wright to I. Kleiman re Coin-Exch Balance Sheet, dated March 11,
P138 2014
P139 Email from I. Kleiman to C. Wright re Another, dated March 11, 2014

 

 

 
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Email from C. Wright to A. Sommer and R. Watts re Draft Answer - Demorgan and
P140 CSW, dated March 16, 2014 with attachment
Email from C. Wright to J. Chesher, R. Watts, and A. Sommer re L11000019904,
P142 dated March 24, 2014
Email from C. Wright to R. Watts re Transcript of Interview - 28 March 2014
[DLM=Sensitive], dated April 23, 2014; Transcript of Craig Wright ATO Interview,
P143 dated March 28, 2014
Email from C. Wright to J. Chesher, R. Watts, and A. Sommer re CFS International
P146 Formations, dated April 1, 2014
Email from C. Wright to J. Chesher, R. Watts, A. Pedersen and A. Sommer re code,
P147 dated April 1, 2014
Email from C. Wright to J. Chesher and A. Sommer re UK - design by human, dated
P149 April 2, 2014
P156 Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014
Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014 (Screenshot
P156.1 of Native Metadata)
P157 Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014
Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014 (Screenshot
P157.1 of Native Metadata)
P160 Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014
Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014 (Screenshot
P160.1 of Native Metadata)
PI61 Email from C. Wright to I. Kleiman re Questions, dated April 23, 2014
Email from C. Wright to I. Kleiman re Chronology of Craig Wright, dated April 25,
P164 2014
Email from C. Wright to A. McCabe, A. McEvoy and R. Watts re WKID Software
P166 valuation, dated May 16, 2014
P167 Email from I. Kleiman to C. Wright re memory recall, dated May 20, 2014
P169 Letter from C. Wright to U. Nguyen re COIN Deed of Loan, dated June 27, 2014
P172 Transcript of ATO Interview of C. Wright, dated August 11, 2014
P173 Transcript of ATO Interview of C. Wright, dated August 18, 2014
Email from C. Wright to R. Watts and A. Sommer re Our meeting Monday, dated
P175 September 17, 2014
P181 Email from Lee to C. Wright re valuation, dated October 28, 2014
Email from R. Watts to C. Wright and S. Matthews re Valuation, with attachment
P183 Software Engineering Valuation, dated November 13, 2014
Email from C. Wright to A. Sommer and R. Watts re bitmessage , dated December
P187 31, 2014
P189 Email from C. Wright to R. Watts re ATO Game, dated February 4, 2015
Emaiil from H. Miller to C. Wright, R. Watts, and A. Sommer re meeting - possible
P191 investor, dated April 17, 2015
P200 Email from M. Seven to C. Wright re Email, dated May 21, 2015
Email from C. Ayre to C. Wright, S. Matthews, JLP, M. Bianchi, Dr. Errol Cort re
P209 thinking from last night, dated June 10, 2015

 

 

 

 
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P210 Skype between C. Wright and S. Matthews, June 14, 2015
P211 Email from C. Ayre to C. Wright re Letter of Intent, dated June 14, 2015
P212 Email from C. Wright to U Ng, R. Watts re ATO request, dated June 18, 2015

Email from C. Wright to C. Ayre, S. Matthews, and JLP re for 1:30 meeting, dated
P213 June 18, 2015

Email from C. Wright to C. Ayre, S. Matthews, and C. Hoffman re Letter of Intent,
P214 dated June 18, 2015

Email from C. Wright to C. Ayre re OK...finished first cut of thr LOI just now, dated
P215 June 20, 2015

Email from C. Ayre to C. Wright and C. Hoffman re can one of you guys..., dated
P216 June 20, 2015

Email from C. Ayre to C. Wright re OK...finished first cut of the Lol just now, dated
P217 June 20, 2015

 

Email from C. Ayre to C. Wright re OK...finished first cut of the Lol just now, dated
June 22, 2015 ATTACHMENTS: DEFAUS_01581821- Budget.xlsx,

 

 

 

 

 

P219 DEFAUS_01581822- Summary of Issues and Position
P221 Email from R. Watts to I. Kleiman re questions, dated June 23, 2015

Email from C. Wright to R. Watts re Transcript and Meeting Minutes, dated June 24,
P223 2015

Email from C. Wright to S. Matthews and R. Watts re things to send to Stefan, dated
P224 June 24, 2015

Email from R. Macgregor to C. Ayre, S. Matthews, C. Wright & R. Watts re
P229 Congratulation, dated June 29, 2015
P230 Technical services agreement between DeMorgan and DR Technologies

 

Email from R. Watts to C. Wright re Termination of Engagement, dated July 6, 2015
attachment: Letter from A. Sommer to R. Watts re DeMorgan Limited - Termination

 

 

 

 

 

 

 

 

 

P240 of engagement
P241 Email from R. Watts to S. Matthews re Proposal, dated July 8, 2015
Email from S. Matthews to C. Wright and Ramona Watts re Hotwire, dated July 24,
P248 2015, with attachments
Email from S. Matthews to C. Wright and Ramona Watts re communication, dated
P256 August 28, 2015
Email email from C. Wright to S. Matthews and R. Watts re coin-ex, dated August
P257 28, 2015
Email from R. Watts to S. Matthews re Can further details be provided, dated
P261 September 10, 2015
P274 Email from C. Wright to A. Pedersen re Proposal White Paper, dated October 20,
2015
P290 Email from C. Wright to R. MacGregor, C. Wright, C. Ayre and R. Watts re Reporter
re: satoshi, dated November 21, 2015
P291 Email from C. Wright to R. Watts and S.Matthews re: Hey, dated November23, 2015
P296 DeMorgan Group Intellectual Property Ownership Analysis Draft, dated November

 

 

 

27, 2015

 

 
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P299 Email from C. Wright to R. MacGregor, S. Matthews and R. Watts re Wired, dated
December 2, 2015

P301 Email from C. Ayre to C. Wright, S. Matthews, R. Watts re any news?, dated
December 5, 2015

P305 Email from C. Wright to R. MacGregor, S. Matthews and R. Watts re Difficult, dated
December 8, 2015

P308 Term Sheet re Allocation of IP Proceeds

P310 IP Assignment Deed for Nerypt Holdings

P313 Email from S. Matthews to C. Wright and R. Watts re legal privilege, dated January
20, 2016

P3158 Novation Agreement substituting nCrypt Holdings for DR Technologies Limited

P320 Reasons for Decision from ATO for Integyrz

P326 Email from C. Wright to S. Matthews re Coordination, dated March 30, 2016

P332 Email from C. Wright to A. O'Hagan re Material, dated March 31, 2016

P333 Email from R. Macgregor to C. Wright re London, dated March 31, 2016

P337 Demorgan Meeting Minutes March 2016
IP/agreements between DeMOrgan and nCrypt

P349 Email from C. Wright to G. Andresen re Some reading for the plane, dated April 6,
2016

P350 Implementation Deed Between DeMorgan, Calay Holdings, Craig Wright

P356 Email from G. Andresen to S. Matthews re Media, dated April 20, 2016

P361 Email from C. Wright to G. Andresen and J. Matonis re And soon to Paris, dated
April 27, 2016

P381 Email from R. Macgregor to S. Matthews, C. Wright and R. Watts re Hal, dated May
4, 2016

P392 Email from C. Wright to G. Andresen re My apologies, dated May 7, 2016

P398 C. Wright Power of Attorney appointing nCrypt Limited, dated August 22, 2016

P403 Email from J. Nguyen to J. Diaferia re nChain Holdings Limited, dated January 23,
2017

P405 Email from C. Wright to G. Andresen re Finalisation of Comprehensive Risk Review
[DLM=Sensitive], dated May 3, 2017

P406 Email from C. Wright to G. Andresen re Trolls, dated May 3, 2017

P407 Email from G. Andresen to C. Wright re Finalisation of Comprehensive Risk Review
[DLM=Sensitive], dated May 3, 2017

P408 Email from C. Wright to G. Andresen re Trolls, dated May 3, 2017

P410 Email from C. Wright to G. Andresen tr Finalisation of Comprehensive Risk
Review, dated May 3, 2020

P420 Email from A. Ojea to I. Kleiman re David, dated December 7, 2017

Pp424 Letter from S. Harris from the U.S, Department of Homeland Security to K. Roche re
2018-STFO-00106, dated March 22, 2018

P434 The Bad Crypto Podcast - "Is Craig Wright the Real Satoshi?" dated February 20,
2019

P439 Craig S. Wright, Satoshi's Vision: The Art of Bitcoin (2019)

P446 Craig Wright's Notice of Compliance with Court's January 10, 2020 Order, dated
January 14, 2020

 

 

 

 
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P452 Bitmessages from D. Kleiman to C. Wright re The trust process, dated 2012
P457
Baker & McKenzie - EITC Holding Ltd. - IP valuation analysis, dated October 2016
P459 Emails between C. Wright and M. Ferrier, dated February 2013
P464 Statement of a Witness in Police v. Ferris, dated July 2014
P469 Baker & McKenzie - IP Assignment Deed for Nerypt Holdings Ltd, DeMorgan

Limited, DeMorgan Holdings Pty. Ltd., Misfit Games Pty. Ltd., Panopticrypt Pty
Ltd, Coin-Exch Pty. Ltd., Integyrz Pty Ltd, Pholus Pty. Ltd., Cloudcroft Pty. Ltd.,
Chaos and Nonlinear Forecasting in Economics and Finance Pty. Ltd., COIN Pty
Ltd, Denariuz Pty. Ltd., Interconnected Research Pty. Ltd., Zuhl Pty. Ltd. and Daso

 

 

 

 

 

 

 

 

 

 

 

 

Pty. Ltd.
P509 Transcript of Australian proceedings
PS11 C. Wright and J. Nguyen Presentation Speech at Oxford Union
P512 C. Wright and J. Nguyen Interview on Coin Geek Channel
P514 Email from D. Kleiman to C. Wright re Requested attached, dated June 24, 2011
Ist Edman Report Ex. 3-
P514.1 DEF _00013189.PDF.obj_5_0.CLEAN. pdf---
PS518 Email from D. Kleiman to C. Wright re Requested attached, dated October 17, 2014
P518.1 Ist Edman Report Ex. 5- DEF_00013459.PDF.obj_2_0-1.CLEAN.pdf--
P518.2 1st Edman Report Ex. 6- DEF_00013459.PDF.obj_2_0-2.CLEAN.pdf--
Ist Edman Report Ex. 7-
P518.3 DEF_00013459.PDF.obj_9_10-1 .pdf--
" 1st Edman Report Ex. 8-
P518.4 DEF _00013459,.PDF.obj_9 10-2.pdf--
1st Edman Report Ex. 11- Microsoft - How to determine Outlook version
P518.7 information.pdf--
P5211 P521.1 - 18 - DEF_00050985.PDF.obj+B171_60

 

P521.7 P521.7 - 24 - DEF 00050985 Copyright info
Email from C. Wright to D. Mayaka re Aged Shelf Company, dated October 17,

 

 

 

 

 

 

 

 

 

P522 2014
Transfer Receipt
P523 Abacus Invoice
P538 Email from D. Kleiman to C. Wright re Requested attached, dated June 24, 2011
1st Edman Report Ex. 13-
P538.1 DEF_00079344.msg - header.pdf--
P538.2 lst Edman Report Ex. 14- Epoch Converter - Unix Timestamp Converter.pdf--
P540 Email from D. Kleiman to C. Wright re Requested attached, dated April 2, 2013
1st Edman Report Ex. 15-
P540.1 DEF _00013188.PDF.obj_2_0.CLEAN. pdf---
P540.2 lst Edman Report Ex. 16- DEF _00013188.PDF - GPG Output.pdf--
P546 Email from D. Kleiman to C. Wright re Divorce, dated September 7, 2012

 

lst Edman Report Ex. 25-
DEF _00027291.PDF.msg_1.txt - GPG
P546.1 Output.pdf--

 

 

 

 

 
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Ist Edman Report Ex. 26-
DEF_00027291.PDF.msg_1.txt - GPG
P546.2 Output. pdf--
P554 CSW Filed List
P564 Email from I. Kleiman to U. Ng re Dave K, dated February 16, 2014
P565 COIN Penalty and Interest Position Paper, dated March 11, 2016
P578 Email from C. Wright to I. Kleiman re FW: 32 Wipe Fallacy
PS591 Email from C. Wright to C. Wright re IFIP..., dated March 1, 2014
Screenshot of Wallet
Screenshot of XE.com
P598 Screenshot of XE.com
P604 Audit Position Paper
P607 Reasons for Decision from ATO for Zuhl, dated April 12, 2016
P613 Bitmessage Settings
P630 Email from C. Wright to I. Kleiman re FW: Design by..., dated Feb. 28, 2014
P633 Screenshot of Wailet
P636 Email from S. Matthews to C. Wright re Hey, dated November 25, 2015
P637 Preliminary GAAR Panel Submission, dated August 29, 2014
P638 IP License between Cloudcroft and GISCR, dated August 22, 2013
P664 Email from C. Wright to J. Chesher re External Companies dated February 28, 2014
P685 Patents Progress & Prioritization document, last updated January 13, 2015.
Email from C. Wright to R. Watts, S. Matthews re: Hey, dated November 25, 2015
P695 (12:21:46 AM).
Email from C. Wright to S. Matthews, R. Watts, R. MacGregor re: Hey, dated
P696 December 8, 2015.
P709 Australia Court File - 2013-00245661.pdf
P710 Australia Court File — 2013-00225983 pdf
P717 Email from C. Wright to P. Paige re Update, dated March 17, 2014
P720 Email from C. Wright to I. Kleiman re “Bond Villains,” dated March 2, 2014
P727 Email from C. Wright to A. Sommer and I. Kleiman re Letter, dated May 1, 2014
Email from C. Wright to A. Sommer and I. Kleiman re Letter, dated May 1, 2014
P7271 (Screenshot of Native Metadata)
P731 Email from I. Kleiman to C. Wright re Questions, dated April 23, 2014
P733 Email from C. Wright to I. Kleiman re Memory Recall, dated May 20, 2014
Email from C. Wright to I. Kleiman re Memory Recall, dated May 20, 2014
P733.1 (Screenshot of Native Metadata)
P742 ATO Reasons for Decision-Craig Wright R&D
P744 Email from C. Wright to I. Kleiman re R&D, dated Feb. 16, 2014
P748 Affidavit of C. Wright - April 16, 2018
Email from A. Miller to I. Kleiman re Request for Information, dated April 29, 2014
P758 with attachment
P767 Email from K. Andreou to I. Kleiman dated May 17, 2016
P795 Reasons for Decision (COIN)
P799 Email from D. Kleiman to C. Wright

 

 

 
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P799.1 DEF _00068503 - GPG Ouptut.txt

P807 Email from D. Kleiman to U. Nguyen, dated December 20, 2012
P807.1 1st Edman Report Ex. 36- DEF_00027287.PDF.obj_1.pdf---
lst Edman Report Ex. 38-

P807.2 DEF _00027287.PDF.obj_13.decoded_ stream.pdf---

 

 

 

 

 

 

P807.3 Ist Edman Report Ex. 40- DEF_00027287.PDF - GPG Output.pdf--
P808 Email from D. Kleiman to U. Nguyen, dated December 20, 2012
P808.1 Ist Edman Report Ex. 37- DEF 00027288.PDF.obj_2.pdf--

 

Ist Edman Report Ex. 39-
P808.2 DEF _00027288.PDF.obj_17.decoded_ stream.pdf---

 

 

 

 

 

 

P822 Declaration of Dr. Craig S. Wright, dated May 13, 2019

P823 Email from D. Kleiman to C. Wright, dated December 10, 2012
P823.1 1st Edman Report Ex. 47- DEF_00027303.PDF.obj_5_0-1.pdf--
P823.2 Ist Edman Report Ex. 48- DEF _00027303.PDF.obj 5 0-2.pdf-
P823.3 Ist Edman Report Ex. 49- DEF_00027303.PDF - GPG Output.pdf--

P824 Email from C. Wright, dated February 28, 2014

 

P853.1 METANET-ICU.SLACK.COM
P853.2 METANET-ICU.SLACK.COM
P853.3 METANET-ICU.SLACK.COM
P853.4 METANET-ICU.SLACK.COM
P856 Email from C. Wright to C. Wright re Appointment Letter, dated April 16, 2014
Native of P856
Email from C. Wright to C. Wright re Appointment Letter, dated April 16, 2014
1st Edman Report Ex. 41-
P856.1 DEF _00030487.msg.headers.pdf---
lst Edman Report Ex. 42- 58.160.32.123 - GeoIP2 Precision Lookup Form __
P856.2 MaxMind.pdf--
Email and attachments from A. Miller to I. Kleiman re Request for Information from

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

P862 ATO (April 15, 2014)

Letter of Administration Appointing Ira Kleiman Personal Representative of the
P863 Estate (Feb. 4, 2016)

https://Aweb.archive.org/web/20 1509221002 12/http:/gse-
P864 compliance.blogspot.com/2013_04 28 archive.html

https://web.archive.org/web/20151124011302/http:/gse-
P865 compliance.blogspot.com/2013_04 28 archive.html
P867 Email from P. Paige to J. Kleiman re what’s up, dated February 13, 2014

Email from Abacus Customer Services to C. Wright re Tulip Trading Limited with
P869 attachments, dated Oct. 23, 2014

Email from C. Wright to S. Matthews and R. Watts re IP transaction and filing, dated

P871 Feb. 4, 2016
D003 Exhibit DO1 in J.Warren's 7/24/2019 deposition

First Amended Complaint. Kleiman v. Computer Forensics LLC, Conrad & Paige.
D005 Case No. 50-2016-CA-013045

 

 

 

 

D008 Letter to Department of the Treasury from The Karp Law Firm

 

 
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Supreme Court of New South Wales Notice of Listing Case no. 2013/00245661 with

 

 

 

 

D010 envelope
Email chain between P. Paige, C. Conrad and I. Kleiman re: Mailbox Renewal
DO11 Reminder
D015 D. Kleiman TransUnion credit report
D018 D. Kleiman 2010 Tax Return
D019 D. Kleiman 2011 Tax Return

 

Email to P. Paige, B.Long, G. Kelley, C.Bell, M. Shannon, J.Hatchett, E. Robi,
G.Freemyer, P. Henry, C. Wright, S.Moulton, W. Marney, B. Bell, B. Dean, K.

 

 

 

D020 Andreou and G.Kelley from C.Conrad re: Dave Kleiman
D030 Email chain between C. Wright and D. Kleiman re: An update
Email to M. Sheppard, D. Ostrom, J.Giarraputo, N. Pham from D. Kleiman re: US v.
B040 Garcia - Expert
Email chain with attachment between D. Kleiman, C. Conrad and P. Paige re:
D041 Question on costs for a company

 

Email chain betwwen C. Wright, C. Conrad, P. Paige, B. Long, G. Kelley, M.
Shannon, J.Hatchett, E.Robi, G. Freemyer, P. Henry, S. Moulton, W. Marney, B.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

D042 Bell, B. Dean and K. Andreou re: Dave Kleiman

D045 Change to company details for Coin-Ech Pty Ltd.

D046 Email with attachment from I. Kleiman to I. Kleiman re: Doc 22.06.16 09:12:07
Email with attachment from D. Kleiman to D. Kuharcik, C. Conrad, P. Paige and

D056 Computer Forensics LLC Accounting re: Computer Forensics LLC Accounting
Email with attachment from D. Kleiman to D. Kuharcik and Computer Forensics

D057 LLC Accounting re: Computer Forensics LLC Accounting - 1099s

D058 Email to self from D. Kleiman re: Fw: Balance alert
Email chain with attachment between D. Kleiman, C. Wright and L. Wright re:

D059 Registration - TTA1

D067 Letters to I. Kleiman, C. Wright and D. Kleiman from Homeland Security

D072 Email to D. Kleiman and L. Wright from C. Wright re: Idea - research

D073 Email chain between D. Kleiman, C. Wright and L. Wright re: Link to R&D site
Email chain with attachment between D. Kleiman, C. Wright and

D075 L. Wright re: Registration - TTA]
Email chain between C. Wright, D. Kleiman and L. Wright re: [DHS Cyber R&D

D078 Grants $40MM]

D080 Email with attachment from C. Wright to D. Kleiman and L. Wright re: Registration
Email chain between C. Wright, D. Kleiman and L. Wright re:

D082 Registration - TTA]

D083 Email to D. Kleiman and L. Wright from C. Wright re: Abstract 2

D084 Email chain between C. Wright, D. Kleiman and L. Wright re: Abstract 3

D085 Email to D. Kleiman and L. Wright from C. Wright re: Abstract 4

D088 Email to I. Kleiman from C. Wright re: FW: Registration - TTAI

D091 D. Kleiman VA records Pages 1-999

D092 D. Kleiman VA records Pages 1000-1999

 

 

 

 

D093 D. Kleiman VA records Pages 2000-2999

 

 
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D094 D. Kleiman VA records Pages 3000-3999
DO95 D. Kleiman VA records Pages 4000-4999
D096 D. Kleiman VA records Pages 5000-5999
D097 D. Kleiman VA records Pages 6000-6999
D098 D. Kleiman VA records Pages 7000-7999
D099 D. Kleiman VA records Pages 8000-8999
D100 D. Kleiman VA records Pages 9000-9999
D101 D. Kleiman VA records Pages 10000-10999
D102 D. Kleiman VA records Pages 11000-11497
D158 Email chain between D. Kleiman, S.Dorsey and P. Paige re: October
D159 Email to P. Paige from D. Kleiman re: FW: WPTV
Email chain with attachment between C. Wright and D. Kleiman re: Defamation and
D161 the difficulties of law on the Internet.aig
D164 BOD Meeting Minutes dated August 2007
D171 Email to C. Wright from D. Kleiman re: Hello
D173 Email to D. Kleiman from C. Wright re: Long time
D174 Email chain between D. Kleiman and C. Wright re: Long time
Email chain with attachment between D. Kleiman and C. Wright re: An ethics issue
D175 that needs to be investigated (ISACA Branch President)
D176 Email chain between C. Wright and D. Kleiman re: Correct Contact info
D177 Email chain between D. Kleiman and C. Wright re: IFIP-WG11.9 CFP
D179 Email to I. Kleiman from D. Kleiman re: Better buy some twitter stock
Email to I. Kleiman and "lureg8@yahoo.com from D. Kleiman re: Here is your stock
D180 tip
Email to I. Kleiman from D. Kleiman re: Bing search engine on Apple's iPhones as
D181 default
D245 Email chain between C. Wright and D. Kleiman re: A paper
D246 Email chain between D. Kleiman and C. Wright re: So...
Email chain between D. Kleiman and C. Wright and other re: Using Checklists to
D247 make better best.docx
D248 Email chain between D. Kleiman and C. Wright re: Some more reading
Email chain between D. Kleiman, C. Wright and R. Radvanovsky re: A
D249 paper
D250 Email chain between D. Kleiman and C. Wright re: BAA 11-02
D251 Email with attachment to D. Kleiman from C. Wright re: Some reading for you
Email chain between I. Kleiman and the Florida Division of Corporations re: articles
D252 of incorporation
Email chain between I. Kleiman and T. Miller re: EOI case ref # 362215/Australia
D256 case ref #1-6BOK5GO - email 2 of x yes can open
Email to I. Kleiman from Craigslist re: Post/Edit/Delete : Quickie Triumph
D257 Wheelchair" (general for sale - by owner)
D284 Email chain between I. Kleiman, C. Wright and U. Nguyen re: Dave
D285 Email chain between J. Kleiman and C. Wright re: Dave
D289 Email chain between C. Wright, I. Kleiman and A. Damoka re: Letter
D301 D. Kleiman IRS Account Transcript 2009

 

 

 

 

 
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D302 D. Kleiman IRS Account Transcript 2010
D303 D. Kleiman IRS Account Transcript 2011

Email chain between D. Kleiman and C. Wright re: Defamation and the difficulties
D319 of law on the Internet

Email with attachment to D. Kleiman and R. Radvanovsky from C. Wright re: Papers
D326 so far.
D329 Email chain between C. Wright and D. Kleiman re: Next post

Email chain between C. Wright ad D. Kleiman re: CFS 09/October 5-6 Updated
D330 Speaker/Session List
D331 Email chain between D. Kleiman and C.Wright re: Happy new year

Email chain between C. Wright and D. Kleiman re: FW: Authorship offer: (ISC) 2
D335 Press Series - ISSMP

 

Email chain between D. Kleiman, M. Himebaugh C. Wright, R. O'Hanley,

H. Tipton and K. Henry re: Authorship offer: (ISC) 2 Press Series -

D336 ISSMP

D337 Email chain between C. Wright and D. Kleiman re: On Another note

Email chain between C. Wright, "Shyaam" and D. Kleiman re: FW: CFP -

Fourth International Conference on Information Systems Security (ICISS 2008)
D338 HYDERABAD INDIA

Email to D. Kleiman, S. Northcutt, B. Wright, E. Sturnick,

"dsvoboda@sans.edu," A. Paller, J. Pike, E. Carroll, M. Hofman, B. Radvanovsky,
G. Byrne, "chamby@giac.org" and "giac-eth ics-council-bounceslist.sans.org" from

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

D339 C. Wright re: Tooting the horn
D340 Email to C. Wright from D. Kleiman re: My availability
Email chain between C. Wright and D. Kleiman re: An ethics issue that needs to be
D341 investigated (ISACA Branch President)
D342 Email to I. Kleiman from C. Wright re: FW: I will start ending framework soon
D343 Email to D. Kleiman from C. Wright re: FW: American R&D
D344 Email chain between C. Wright and D. Kleiman re: Hey
D345 Email chain between C. Wright and D. Kleiman re: Checkpoint smart defense as IPS
Email chain between D. Kleiman, C. Wright, and others re: RE: [HTCC] Secure
D346 deletion: a single overwrite will do it
D348 Email to C. Wright from D. Kleiman re: Welcome!
D349 Email to C. Wright from D. Kleiman re: Restaurants
Email chain with attachment between C. Wright, D. Kleiman and others re: RE:
D350 [CCE] Event viewer (Parsing) Attachments: ATT01534.txt
D351 Email chain between D. Kleiman, C. Wright, and others re: RE: [CCE] DD gurus
D352 Email to D. Kleiman from C. Wright re: SO...
Email with attachment to D, Kleiman and B. Radvanovsky from C. Wright re: Some
D353 more readings for you. Attachments: IWSEC201 0a.pdf
D354 Email chain between D. Kleiman and C. Wright re: RE: Papers so far.
D356 Email chain between C. Wright and D. Kleiman re: RE: Just a draft
D357 Email chain between D. Kleiman and C. Wright

 

 

 

 

 

D359 Email chain between D. Kleiman, C. Wright, and S. Sundhar

 
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D360 Email Chain between C. Wright, S. Sundhar and D. Kleiman
D361 Email chain between C. Wright and D. Kleiman
D362 Email chain between C. Wright, D. Kleiman and others
D363 Email chain between D. Kleiman and C. Wright
Email chain between D. Kleiman and C. Wright re: How are you going with the
D380 paper
D389 Email to D. Kleiman from C. Wright re: 32 wipe falacy
Certified Notice of Voluntary Dismissal, Wells Fargo Bank v. D. Kleiman Case no.
D396 211CA02057
D398 Cryptography Mailing List from H. Finney re: Bitcoin P2P e-cash paper
D408 Exhibit 03 to A. Antonopoulos' 1/7/2020 deposition
D412 Exhibit 23 to M. Edman’s 10/1/2021 deposition
D425 Photographs of Dave Kleiman's electronic devices
D480 P463- Chat conversations between K. Andreou and D. Kleiman
D481 Authorization to obtain consumer credit information
D488 Email from I. Kleiman to C. Wright re: FW: AGMO COE in IPv6.pptx
D489 Email from I. Kleiman to A. Cush re: BTC to Pay Bills
D1020 "Summary Exhibit" used with MacIntyre
D1021 "Summary Exhibit" used with MacIntyre

 

 

 

 
